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                   IN THE UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION

LORENZO ARMIJO,                           §
                                          §
             Plaintiff,                   §
                                          §
V.                                        §         No. 3:23-cv-1514-K
                                          §
MOVEMENT MORTGAGE, LLC and                §
LAKEVIEW LOAN SERVICING, LLC,             §
                                          §
             Defendants.                  §

          ORDER ACCEPTING FINDINGS, CONCLUSIONS, AND
     RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE

       The United States Magistrate Judge made findings, conclusions, and a

recommendation in this case. No objections were filed. The District Court reviewed

the proposed findings, conclusions, and recommendation for plain error. Finding none,

the Court ACCEPTS the Findings, Conclusions, and Recommendation of the United

States Magistrate Judge.

       SO ORDERED.

       Signed September 11th, 2024.


                                       _________________________________________
                                       ED KINKEADE
                                       UNITED STATES DISTRICT JUDGE
